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 7
                                  UNITED STATES DISTRICT COURT
 8
                                 WESTERN DISTRICT OF WASHINGTON
                                           AT TACOMA
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        CHAO CHEN, individually and on behalf                  CASE NO. 3:17-cv-05769-RJB
11      of those similarly situated,
                                                               ORDER ON PLAINTIFF’S
12                                   Plaintiff,                MOTION FOR LEAVE TO AMEND
                  v.                                           CLASS ACTION COMPLAINT
13
        THE GEO GROUP, INC.,
14
                                     Defendant.
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               THIS MATTER comes before the Court on Plaintiff’s Motion for Leave to Amend Class
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     Action Complaint. Dkt. 78. The Court has considered the motion and the remainder of the file
19
     herein.
20
               Plaintiff Chao Chen seeks leave to amend his class action complaint (Dkt. 1) to substitute
21
     three individuals as named plaintiffs and to withdraw Mr. Chen as a named plaintiff. Dkt. 78.
22
     The proposed First Amended Class Action Complaint for Damages (Dkt. 78-1) introduces as
23
     plaintiffs three individuals: Ugochukwu Goodluck Nwauzor, Fernando Aguirre-Urbina, and
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     ORDER ON PLAINTIFF’S MOTION FOR LEAVE TO AMEND CLASS ACTION COMPLAINT - 1
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 1   Fabiola Alicia Camorlinga Cruz. The second version of the First Amended Class Action

 2   Complaint for Damages, filed in Plaintiff’s Reply (Dkt. 82), drops Ms. Cruz as a named plaintiff.

 3   Dkt. 82-1. See Dkt. 80 at 7. For purposes of considering Plaintiff’s motion, the Court will

 4   construe the second version (Dkt. 82-1) as the operative proposed complaint.

 5          The proposed complaint adds two substantive paragraphs, which provide detail about the

 6   two proposed plaintiffs. About Mr. Nwauzor, the proposed complaint alleges that he resides in

 7   Kent, Washington, was detained at the Northwest Detention Center (NWDC) from

 8   approximately 2016 until January 2017, and is a Nigerian citizen granted asylum by the United

 9   States in January of 2017. Dkt. 82-1 at ¶3.1. About Mr. Aguirre-Urbina, the proposed complaint

10   alleges that he has been detained since around September 2012 and is a citizen of Mexico. Id. at

11   ¶3.2. Other than these two paragraphs, the proposed complaint is identical to the Complaint,

12   except for minor, non-substantive changes, e.g,. modifying the Complaint to reflect a plural,

13   rather than a singular, number of plaintiffs. Compare Dkt. 1 at ¶1.1, 1.2; Dkt. 82-1 at ¶1.1, 1.2.

14          Fed. R. Civ. P. 15(a)(2) provides that “a party may amend its pleading only with the

15   opposing party's written consent or the court's leave. The court should freely give leave when

16   justice so requires.” This is a policy to be applied with extreme liberality. Owens v. Kaiser

17   Found. Health Plan, Inc., 244 F.3d 708, 712 (9th Cir. 2001). Courts may consider numerous

18   factors, including undue delay, bad faith or dilatory motive, repeated failure to cure deficiencies

19   by amendments previously allowed, undue prejudice to opposing parties, harm to the movant if

20   leave is not granted, and futility of the amendment. Foman v. Davis, 37 U.S. 178, 182 (1962);

21   Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003). Prejudice is the

22   touchstone of the inquiry, wherein “[n]ot all of the factors merit equal weight.” Id.

23          Defendant invokes prejudice, lack of diligence, bad faith, and futility.

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     ORDER ON PLAINTIFF’S MOTION FOR LEAVE TO AMEND CLASS ACTION COMPLAINT - 2
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 1          1. Prejudice.

 2          Defendant is prejudiced, Defendant argues, because the proposed plaintiffs cannot

 3   survive a motion for class certification and should not be permitted to be used as placeholders.

 4   Dkt. 79 at 8-10. This is an argument on the merits of class certification, which the Court has not

 5   reached. Whether the proposed plaintiffs can survive a motion for class certification remains

 6   unresolved. Dkt. 77 at 4. The Court may look askance at future efforts to amend the named

 7   plaintiffs, but presently, Plaintiff has made the threshold showing that the amendment is offered

 8   to reach the merits of this case.

 9          Defendant also argues that it suffers prejudice from insufficient time to conduct discovery

10   of the proposed plaintiffs. Dkt. 79 at 11. This argument lacks merit, because it was at

11   Defendant’s request, to mitigate prejudice to Defendant, that the Court ordered an abbreviated

12   timeline. Dkt. 77 at 3.

13          Defendant has only articulated possible prejudice, which is conjecture. The Court finds

14   only minimal prejudice to Defendant.

15          2. Diligence.

16          Defendant argues that Plaintiff has shown a lack of diligence by counsel’s deficient

17   preparation of Mr. Chao Chen’s class representation. Dkt. 79 at 10, 11. Defendant also points to

18   Plaintiff’s withdrawal of proposed plaintiff Ms. Cruz based on travel limitations imposed by

19   probation, and the fact that Plaintiff has proceeded with proposed plaintiff Aguirre-Urbina

20   despite known mental health issues. Id.

21          On the record shown, Plaintiff’s decisions are better characterized as tactical decisions.

22   Plaintiff has adjusted his strategy based on clients’ needs and input. Defendant has not shown a

23   lack of diligence.

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     ORDER ON PLAINTIFF’S MOTION FOR LEAVE TO AMEND CLASS ACTION COMPLAINT - 3
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 1          3. Bad faith.

 2          According to Defendant, Plaintiff acts in bad faith, because counsel proposed, then

 3   withdrew, Ms. Cruz as a proposed plaintiff, and still proposes Mr. Aguirre-Urbina as a plaintiff,

 4   despite his known mental health issues. Dkt. 79 at 11.

 5          Defendant has not shown bad faith. Plaintiff has not proceeded with the motion to amend

 6   as to Ms. Cruz after she decided to withdraw as a proposed plaintiff. Ms. Cruz’ decision to

 7   withdraw is not within counsel’s control. Mr. Aguirre-Urbina’s mental health issues may—or

 8   may not—preclude his representation of the proposed class, depending on their severity, but that

 9   question should be resolved after his deposition and by the motion for class certification.

10          4. Futility.

11          Defendant argues that amending the Complaint is futile, because both proposed plaintiffs

12   have “automatic disqualifiers that preclude GEO from hiring them” as ‘employees,’ given their

13   undocumented statuses. Dkt. 79 at 11, 12. The futility argument is in part a rehash of the merits,

14   and it assumes a certain interpretation of the GEO-ICE contract. See Dkts. 29 and 67. The

15   proposed complaint alleges no more—and no less—plausible facts than the Complaint.

16          The balance of factors points to giving leave to amend. Plaintiff’s motion should be

17   granted.

18                                                  ***

19   THEREFORE, it is HEREBY ORDERED:

20          Plaintiff’s Motion for Leave to Amend Class Action Complaint (Dkt. 78) is HEREBY

21   GRANTED. Plaintiff Chao Chen may withdraw as a plaintiff. Plaintiff is given leave to file the

22   First Amended Class Action Complaint for Damages (Dkt. 82-1), which shall henceforth be the

23   operative complaint.

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     ORDER ON PLAINTIFF’S MOTION FOR LEAVE TO AMEND CLASS ACTION COMPLAINT - 4
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 1          IT IS SO ORDERED.

 2          The Clerk is directed to send uncertified copies of this Order to all counsel of record and

 3   to any party appearing pro se at said party’s last known address.

 4          Dated this 13th day of June, 2018.

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                                           A
                                           ROBERT J. BRYAN
                                           United States District Judge
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     ORDER ON PLAINTIFF’S MOTION FOR LEAVE TO AMEND CLASS ACTION COMPLAINT - 5
